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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


DR. XIMENA P GALARZA-RIOS, MD,

             Plaintiff,

v.                                                            No. CV 20-813 WJ/CG
                                                              consolidated with
                                                              No. CV 20-900 WJ/CG
OPTUMCARE NEW MEXICO, LLC, et al.,

             Defendants.

                  ORDER GRANTING WITHDRAWAL OF COUNSEL

      THIS MATTER is before the Court on the unopposed Motion for Withdrawal and

Notice of Substitution of Counsel (the “Motion”), (Doc. 46), filed by Defendants’ counsel

on October 11, 2021. In the Motion, Defendants’ counsel asks to withdraw from this

case, explaining that Defendants consents to the withdrawal, and that Defendants have

retained another law firm to represent them. Id. at 1. The Court, having reviewed the

Motion, noting that it is unopposed and that it complies with District of New Mexico

Local Rule 83.8, finds the Motion is well-taken and shall be GRANTED.

      IT IS THEREFORE ORDERED that Holland & Hart LLP (Little V. West, Judd C.

West, and Kaitlyn Luck) is withdrawn as counsel for Defendants OptumCare New

Mexico, LLC and OptumCare Management, LLC. Brownstein Hyatt Farber Schreck,

LLP (Eric R. Burris) shall appear and be substituted as counsel of record for Defendants

OptumCare New Mexico, LLC and OptumCare Management, LLC.

      IT IS SO ORDERED.


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                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
